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APPENDIX IV
TAB Y
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| Alan Bonseli -* Evotuton Issus & Dover ™

 

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From: "Seth Goaper” <coopenaidiscovery.ong>
Ta: <sbonseiidover.kt2 pau

Das: Fri, Dec 10, 2004 4:45PM

Subject: ™ Evolution Issue & Dover *"

hr. Bonsell,

Hello, this is Seth Cooper, an altomay with the Discovery Institute-the
nation's leading think tank promoting intelligent design theory.
(wane. distover.orcec), | hope to finally reach you stmmelime vary soon.

While some of my senior colleagues were involved with the writing and
editing of Cf Pandas and Psopte and of the new, forthcoming edition of the
book, we have some serious comcems about mattars in your district, Wa do
belleve a lawsuil is certain In your stiuation, and we would hope that this
could be prevented, Alewsull woul Fast 2-3 years and result in massive
legal fees,

Agam, we are the nebon's leading proponents of Intelligant dadgn and we
howse the nation's lading schantsts involved kn intelligent design

research. So nobody ls more conterhed about the future of intelligent
desion ian we are. Nonetheless, we strongly recommend some comective
action he taken,

l have forwarded a suggested course of action to Heather Geasey, which |
inchwe below, | would be more than glad to discuss tha reasoning and
thinking behind iL

BOARD MOFION

4) Ono curricdum provision requiring thal students be made aware of
"gaps/problers” with Darwin's theary, ,

2) Omit cuniculum referance to intelligent dacign and OF Pandas and
People

3) Omit curriculum provision stating "Giigins of life will not be

gogg4ad
 

 

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® taught"
4) Place Of Pandas and People copies in school tihrary
S} 0 Rescind previous pokey calling for teachers to read aloud a
statement about "gaps/probleme” with Darwin's theory, intelligent design,
e and Of Pandas and People
: 6) Enact a new polley reading as followa:
Teachers, in thelr discretion, may encourage sludents to consider bath lhe
scientific stranglhs and weaknesses of evolutionary lheary in order ta
° belle understand the eselgned currlouum. This polley dees not call for
teaching of creationism, nat doves # call for tha leaching of intelligent
design theory. . |
e
Please feel free to contact me for further details. My office is the best
number to reach ae, but | can sometimes be reached via cell phone.
e
Best Ragerds,
-Balh
e
Seth L. Cooper, J.D.
e Program Officer, Publle Policy & Legal Affairs
Center for Scienca and Culture
Discovery Institute
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